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                 EXHIBIT B
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                          United States Department of the Interior
                                               BUREAU OF INDIAN AFFAIRS
                                                  Washington, DC 20240

                                                            JUN 1 7 2019
Mr. Stuart Peenstra
Chief of Police
Town of Seneca Falls Police Department
130 Ovid Street
Seneca Falls, New York 13148

Dear Chief Feenstra:

Thank you for your letter dated March I, 2019, addressed to Secretary Bernhardt, requesting guidance on the
authority of the Cayuga Indian Nation Law Enforcement Division. In your letter, you ask six particular, but
overlapping questions regarding criminaljurisdiction on the Cayuga Indian Nation Reservation. Secretary
Bernhardt asked our office to respond to you on his behalf.

Currently, the Department of the Interior (Department) does not have any relationship with the Tribe's Law
Enforcement Department and the Tribe does not receive any funding from the Department for law enforcement
purposes. In addition, Cayuga Indian Nation officers are not federally commissioned under 25 U.S.C. § 2804.
However, Federal funding or commissioning is not necessary for the Cayuga Indian Nation to exercise its
inherent sovereign authority to enforce its own laws inside the Cayuga Indian Nation Reservation boundaries
through a law enforcement program.

Both Federal and State Courts have ruled that the Cayuga Indian Nation Reservation has not been diminished
or disestablished.1 \Vhile the Tribe does not have lands in trust, all lands within the e,-terior boundaries of the
Reservation are considered Indian Country under Federal law.2 Therefore, the Department's position is that
the Cayuga Indian Nation may enforce its own criminal laws against Indians within the boundaries of the
Reservation. Although the New York Act, 25 U.S.C. § 232, gave the State of New York criminal jurisdiction
over l,ndian Country within the State, the State's jurisdiction is concurrent with Cayuga Indian Nation and
Federaljurisdiction. United States v. Cook, 922 F.2d 1026 (2nd Cir. 19~1).

If you have further questions, you may contact Mr. Terrell Leonard, District IV Special Agent-in-Charge,
Bureau of Indian Affairs; Office of Justice Services, at (615) 564-6605.



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                                                                           Director, Bureau of Indian Affairs


cc:       The Honorable Clint Halftown, Chairman, Cayuga Indian Nation
          Mr. James P. Kennedy, Jr., United States Attorney, Western District of New York



1 Cayuga Indian Nation o/N. Y. v. Ser.eca Coun;y, 260 F. Supp.3d 290 (W.D.N.Y. 201 7); Cayuza Indian tlatlo• ofN, Y. v, Oou!a, 14 N.Y.3d 614 (2010);
Cayuga Indian Nation o/N.Y. vCuoma, i58F. Supp 107 (N.O.N.Y. 1991).
' 18 U.S.C. § I ISi; Seymowrv. Superintendent of Wash. Slate Penlren,la,y, 361! U.S. 351 (1962).
